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                     UNITED STATES COURT OF APPEALS
                                                                      FILED
                            FOR THE NINTH CIRCUIT
                                                                      FEB 11 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




  STATE BAR OF CALIFORNIA,                       No. 21-56124

                Plaintiff - Appellee,
                                                 D.C. No. 2:21-cv-07758-SB-AFM
    v.                                           U.S. District Court for Central
                                                 California, Los Angeles
  JON JAY EARDLEY,
                                                 MANDATE
                Defendant - Appellant.


         The judgment of this Court, entered January 20, 2022, takes effect this date.

         This constitutes the formal mandate of this Court issued pursuant to Rule

 41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Rhonda Roberts
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
